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                                                       October 30, 2023

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of N.J.                            Special Master
     Mitchell S. Cohen Building &                                      Stevens & Lee
      U.S. Courthouse                                                  1500 Market St., East Tower,
     1 John F. Gerry Plaza, Courtroom 4D                                Suite 1800
     4th and Cooper Streets                                            Philadelphia, Pennsylvania 19103
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the November 1,

     2023 case management conference.

          1. Update on Losartan and Irbesartan Document Productions.

                As of the last case management conference, all manufacturer defendants have

     a court-approved list of search terms and custodians. However, document

     productions have been few and far between. In order to ensure Plaintiffs do not
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   receive all of the documents at the very end of the discovery period, Plaintiffs

   respectfully request that the Court require each manufacturer defendant to make

   semi-monthly document productions on the 15th and last day of each month. Just as

   was done in the valsartan portion of discovery, Plaintiffs further request that these

   productions be accompanied by production logs that maintain the same format as

   those used in the valsartan portion of the case as required by the ESI protocol.

      2. Update on the Motion to Compel WeChat Production.

         The Parties are pleased to report they have reached an agreement on WeChat

   data production and therefore are not requesting a ruling on the issue at this time.

      3. Rite Aid’s Bankruptcy.

         On October 15, 2023, Rite Aid filed for bankruptcy in United States

   Bankruptcy Court for the District of New Jersey. The Parties have reached

   agreement on Rite Aid’s inclusion in this case’s class notice plan. Plaintiffs will be

   prepared to discuss any questions with the Court.

      4. Class Notice Plan.

         The Parties have been working diligently to come to an agreement on the

   notice plan and form of notice. This has been complicated because of delays with

   finalizing the Hetero settlement and the recent Rite Aid bankruptcy. At this point,
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   Plaintiffs have decided to completely separate the litigation class notice from the

   Hetero settlement notice, and Defendants have approved most of the elements of the

   notice plan and form of notice. The Parties will be ready to discuss the timing of the

   motion for approval of the notice and the date for the end of the opt-out period in

   connection with the discussion regarding setting the trial date and related deadlines.

      5. TPP Trial Preparation.

         The Parties have filed their letters on this issue. (ECF 2519, 2518). Plaintiffs

   will be prepared to discuss it further with the Court.

      6. PFS Deficiencies and Orders to Show Cause.

         Plaintiffs will be prepared to address this issue during the conference.

                                    Respectfully,


                                    ADAM M. SLATER

   Cc: All counsel of record (via ECF)
